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67-kDa laminin receptor increases cGMP to
induce cancer-selective apoptosis
Motofumi Kumazoe, … , Koji Yamada, Hirofumi Tachibana
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 Research Article   Oncology

The 67-kDa laminin receptor (67LR) is a laminin-binding protein overexpressed in various
types of cancer, including bile duct carcinoma, colorectal carcinoma, cervical cancer, and
breast carcinoma. 67LR plays a vital role in growth and metastasis of tumor cells and
resistance to chemotherapy. Here, we show that 67LR functions as a cancer-specific death
receptor. In this cell death receptor pathway, cGMP initiated cancer-specific cell death by
activating the PKCd/acid sphingomyelinase (PKCd/ASM) pathway. Furthermore,
upregulation of cGMP was a rate-determining process of 67LR-dependent cell death
induced by the green tea polyphenol (–)-epigallocatechin-3-O-gallate (EGCG), a natural
ligand of 67LR. We found that phosphodiesterase 5 (PDE5), a negative regulator of cGMP,
was abnormally expressed in multiple cancers and attenuated 67LR-mediated cell death.
Vardenafil, a PDE5 inhibitor that is used to treat erectile dysfunction, significantly
potentiated the EGCG-activated 67LR-dependent apoptosis without affecting normal cells
and prolonged the survival time in a mouse xenograft model. These results suggest that
PDE5 inhibitors could be used to elevate cGMP levels to induce 67LR-mediated, cancer-
specific cell death.




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          67-kDa laminin receptor increases cGMP
            to induce cancer-selective apoptosis
                 Motofumi Kumazoe,1 Kaori Sugihara,1 Shuntaro Tsukamoto,1 Yuhui Huang,1
             Yukari Tsurudome,1 Takashi Suzuki,1 Yumi Suemasu,1 Naoki Ueda,1 Shuya Yamashita,1
                           Yoonhee Kim,1 Koji Yamada,1 and Hirofumi Tachibana1,2
                         1Division   of Applied Biological Chemistry, Department of Bioscience and Biotechnology, Faculty of Agriculture, and
                                              2Food Functional Design Research Center, Kyushu University, Fukuoka, Japan.




    The 67-kDa laminin receptor (67LR) is a laminin-binding protein overexpressed in various types of cancer,
    including bile duct carcinoma, colorectal carcinoma, cervical cancer, and breast carcinoma. 67LR plays a vital
    role in growth and metastasis of tumor cells and resistance to chemotherapy. Here, we show that 67LR func-
    tions as a cancer-specific death receptor. In this cell death receptor pathway, cGMP initiated cancer-specific
    cell death by activating the PKCδ/acid sphingomyelinase (PKCδ/ASM) pathway. Furthermore, upregulation
    of cGMP was a rate-determining process of 67LR-dependent cell death induced by the green tea polyphenol
    (–)-epigallocatechin-3-O-gallate (EGCG), a natural ligand of 67LR. We found that phosphodiesterase 5 (PDE5),
    a negative regulator of cGMP, was abnormally expressed in multiple cancers and attenuated 67LR-mediated
    cell death. Vardenafil, a PDE5 inhibitor that is used to treat erectile dysfunction, significantly potentiated the
    EGCG-activated 67LR-dependent apoptosis without affecting normal cells and prolonged the survival time in
    a mouse xenograft model. These results suggest that PDE5 inhibitors could be used to elevate cGMP levels to
    induce 67LR-mediated, cancer-specific cell death.

Introduction                                                                              specific isoforms of PDEs regulating specific signaling pathways
The concept underpinning molecular targeting involves strategies                          (19) are ideal drug targets, due to selective inhibition of specific
that strike precisely at specific and vital molecular targets in cancer                   PDE isoforms (20). PDE5 is one of the enzymes of PDEs and a
cells (1–3), thereby providing the ideal approach to cancer treat-                        major negative regulator of cGMP. PDE5 expression has been
ment. The 67-kDa laminin receptor (67LR) has been shown to be                             observed in corpus cavernosum, vascular smooth muscle cells, and
overexpressed in various types of cancer (4–7). Pathological studies                      platelets. Inhibition of PDE5 is an attractive approach for the relief
have shown that increased expression of 67LR is correlated with                           of erectile disorders, because it enhances sexual arousal–induced
the histological severity of lesions and tumor progression (5–7).                         cGMP signaling without severe side effects (21). However, little is
Cancer-overexpressed 67LR is involved in increased expression of                          known about the expression and role of PDE5 in cancer cells.
cyclins A and B and cyclin-dependent kinases 1 and 2, and 67LR                              Here, we demonstrated that cancer-overexpressed PDE5, a nega-
knockdown has been shown to significantly reduce tumor growth                             tive regulator of cGMP, attenuated 67LR-dependent cell death
in a mouse model (8). Moreover, cancer-overexpressed 67LR has                             induced by EGCG. A PDE5-selective inhibitor used for treating
been shown to induce adhesion-mediated drug resistance (9),                               erectile dysfunction potentiated the anticancer effect of the 67LR
which indicates that 67LR has a vital role in cancer progression.                         activator in cancer cells, including breast, gastric, pancreatic, pros-
  Polyphenol (–)-epigallocatechin-3-O-gallate (EGCG) inhibits                             tate, and multiple myeloma (MM) cancers. These results demon-
the growth of tumor cells and induces apoptosis in cancer cells                           strated that cGMP elevation caused by targeting the overexpressed
without adversely affecting normal cells (10–12), and several clini-                      67LR and PDE5 in cancer cells may be a useful approach for cancer-
cal trials have been carried out to evaluate its potential value as                       specific chemotherapy.
an anticancer agent (13–16). 67LR has been identified as a cell
surface EGCG target that is essential for the antitumor effect of                         Results
EGCG in vivo (17, 18). However, the mechanisms of the apoptotic                           67LR-dependent NO production by Akt and eNOS activation is a key
pathway are incompletely understood. Furthermore, the plasma                              event in the EGCG-induced cell death pathway. 67LR has been shown
concentration of EGCG does not enable the killing of cancer cells.                        to be involved in shear stress–induced eNOS expression in normal
In the present study, we focused on the key mediator that deter-                          endothelial cells (22). Therefore, we investigated the role of NO in
mines 67LR-dependent apoptosis and used a molecular targeting                             67LR-dependent cell death. Primary MM cells derived from a MM
strategy. Our results demonstrated that 67LR activated the pecu-                          patient, MM cell lines U266 and RPMI8226, and normal PBMCs
liar apoptotic signaling Akt/eNOS/NO/cGMP/PKCδ pathway.                                   were treated with EGCG (a natural ligand of 67LR) for 3 hours, and
Furthermore, we revealed that upregulation of cGMP could be a                             NO production was evaluated. EGCG induced NO production in
rate-determining process of 67LR-dependent cell death.                                    MM cell lines and primary MM cells, but had no effect on PBMCs
  Phosphodiesterases (PDEs), major negative regulators of cGMP,                           from healthy donors (Figure 1A). We also found that EGCG elic-
act by degrading the phosphodiester bond. The characteristics of                          ited eNOS phosphorylation at Ser1177, which is involved in eNOS
                                                                                          activation (23), and that this phosphorylation was attenuated by
Conflict of interest: The authors have declared that no conflict of interest exists.      pretreatment of MM cells with an anti-67LR monoclonal antibody
Citation for this article: J Clin Invest. 2013;123(2):787–799. doi:10.1172/JCI64768.      (Figure 1B). These results suggested that EGCG activates eNOS

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Figure 1
67LR-dependent NO production by activation of Akt and eNOS is a key event in the EGCG-induced cell death pathway. (A) Primary MM cells, MM
cell lines (U266 and RPMI8226), and normal PBMCs were cultured for 3 hours in the absence or presence of 5 μM EGCG. NO production was
measured using the fluorescent probe DAF-2DA. FU, fluorescence units. (B) Cells were pretreated with control antibody or anti-67LR antibody
(20 μg/ml) and treated or not with EGCG for 3 hours. Phosphorylation of eNOS at Ser1177 was measured by Western blotting. Lanes were run on
the same gel but were noncontiguous (white lines). (C) U266 cells were pretreated or not with the NOS inhibitor l-NAME (10 mM), then cultured
in medium with or without 10 μM EGCG for 96 hours. (D) Left: Immunoblot analyses of eNOS knockdown in U266 cells. Right: Sensitivity of U266
cells to EGCG (10 μM for 96 hours) after eNOS knockdown. (E) Effect of 5 μM EGCG on Akt activity. (F) Cells were pretreated with control antibody
or anti-67LR antibody (20 μg/ml) and treated or not with 5 μM EGCG for 1 hour. (G) U266 cells were pretreated or not with 5 μM AKT1/2 kinase
inhibitor, then cultured in medium with or without 5 μM EGCG for 3 hours. All data are mean ± SEM.



and induces NO production via 67LR. To assess the role of NO                   activation through Akt. Our results demonstrated that EGCG
in EGCG-induced cell death, we examined the effect of the NOS                  increased Akt kinase activity (Figure 1E), which was attenuated by
inhibitor l-NAME, which abrogated the cell death elicited by EGCG              pretreatment of MM cells with an anti-67LR monoclonal antibody
(Figure 1C). To confirm the involvement of eNOS in the anti-MM                 (Figure 1F). Importantly, an AKT1/2 kinase inhibitor attenuated
effect of EGCG, we transfected U266 cells with a lentivirus encod-             EGCG-induced phosphorylation of eNOS at Ser1177 (Figure 1G).
ing scrambled control shRNA or shRNA against eNOS (Figure 1D                   Taken together, our findings indicate that EGCG induces NO pro-
and Supplemental Figure 1; supplemental material available online              duction through 67LR-dependent activation of Akt and eNOS.
with this article; doi:10.1172/JCI64768DS1). Remarkably, silencing               67LR acts as a death receptor through cancer-specific cGMP upregulation.
of eNOS abrogated the inhibitory effect of EGCG on cell viabil-                Next, we investigated the effect of EGCG on intracellular cGMP, a
ity. Akt (also referred to as PKB) is activated in endothelial cells           crucial mediator in NO-induced signaling (24). EGCG elevated the
in response to shear stress and mediates the activation of eNOS                amount of cGMP in a dose-dependent manner in primary MM cells
by phosphorylation at Ser1177, leading to an increase in NO pro-               and U266 cells, but had no effect on normal PBMCs (Figure 2A
duction (23). Hence, we hypothesized that EGCG induces eNOS                    and Supplemental Figure 2). To investigate whether cGMP acti-

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Figure 2
67LR acts as a death receptor via cancer-specific cGMP upregulation. (A) Effect of EGCG on cGMP levels in normal PBMCs and primary MM
cells for 3 hours. (B) U266 cells were preincubated with anti-67LR antibody (20 μg/ml) or IgM control antibody (20 μg/ml), then treated or not
with 10 μM EGCG for 3 hours. (C) Effect of the sGC inhibitor NS-2028 on cGMP upregulation. U266 cells were preincubated or not with 5 μM
NS-2028 for 1 hour, then treated or not with 10 μM EGCG for 3 hours. (D) Effect of NS-2028 on cell death induced by EGCG. U266 cells were
preincubated or not with 5 μM NS-2028 for 1 hour, then treated or not with 10 μM EGCG for 96 hours. (E) Effect of NS-2028 on EGCG-induced
ASM activation, measured by TLC analyses. U266 cells were preincubated or not with 5 μM NS-2028 for 1 hour, then treated or not with 10 μM
EGCG for 3 hours. (F) U266 cells were treated with 10 μM EGCG or its analogs for 3 hours, and cGMP levels in cells were measured using a
competitive immunoassay. n = 3 per group. All data are mean ± SEM.



vates the 67LR-dependent apoptotic pathway, we examined the                    previously observed in clinical trials (13). EGCG at physiologi-
effects of the cell-permeable cGMP analog dibutyryl-cGMP on                    cally achievable levels could induce NO production (Figure 1A),
the activation of acid sphingomyelinase (ASM), which plays an                  but could not upregulate the level of cGMP sufficiently to induce
indispensable part in EGCG-induced cell death (Supplemen-                      MM cell death (Supplemental Figure 2). These results suggested
tal Figure 3 and ref. 25). Our data showed that dibutyryl-cGMP                 that upregulation of cGMP may be a “choke point” of the EGCG-
induced ASM activation in a dose-dependent manner (Supple-                     induced apoptotic signaling pathway. PDEs are enzymes that
mental Figure 4). Pretreatment of U266 cells with anti-67LR anti-              inactivate cGMP signaling by hydrolyzing the 3′,5′-phosphodies-
body inhibited EGCG-induced cGMP elevation (Figure 2B). NO                     ter bond. We hypothesized that the PDEs may protect MM cells
increased the intercellular cGMP level by activating soluble gua-              from EGCG-induced cell death by downregulating the cGMP level.
nylate cyclase (sGC). The sGC inhibitor NS-2028 prevented the                  To determine the effect of various PDEs on the anti-MM effect
cGMP upregulation induced by EGCG (Figure 2C). Furthermore,                    of EGCG, myeloid cell lines were pretreated with inhibitors of
NS-2028 pretreatment also attenuated EGCG-induced cell death                   different PDEs (Figure 3, A and B). Significant inhibition of cell
and ASM activation (Figure 2, D and E). Taken together, these                  proliferation was observed when EGCG was combined with the
results suggested that the 67LR/Akt/eNOS/NO/sGC/cGMP path-                     PDE5-selective inhibitors zaprinast, methoxyquinazoline (MQZ),
way mediates EGCG-induced cell death. Other tea catechins and                  sildenafil, and vardenafil. PDE5 is one of the major negative regula-
their structurally related compounds have little affinity for 67LR             tors of cGMP signaling. However, the expression of PDE5 in MM
(17) and did not affect the intracellular cGMP level (Figure 2F).              cells is not known. The protein levels of PDE5 and 67LR increased
  Abnormal overexpression of PDE5 attenuates EGCG-induced cell death           substantially in the MM cells of 10 patients as well as all human
in MM cells. Our findings revealed that cGMP has a crucial role in             MM cell lines compared with those in normal PBMCs of 10 healthy
EGCG-induced MM-specific cell death. EGCG inhibited U266 cell                  donors (Figure 3C). Surprisingly, a significant correlation was
growth with an IC50 of 23.2 μM (Supplemental Figure 8A). This                  observed between expression of 67LR and PDE5 (Rs = 0.895, P < 0.01,
concentration was much higher than the plasma concentration                    Spearman rank test, n = 14; Figure 3C, right blot, and Supplemental

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Figure 3                                                                       appearance of palpable tumors, mice were then given a single i.p.
Abnormal overexpression of PDE5 attenuates EGCG-induced cell                   injection of 15 mg/kg EGCG and/or 5 mg/kg vardenafil dissolved
death in MM cells. (A) MM cells were pretreated with the PDE1 inhibi-          in physiological saline (0.9%). After 6 hours, tumors were excised
tor 8-Met-IBMX (20 μM), with the PDE4 inhibitor rolipram (10 μM), with
                                                                               to evaluate the effect on the activity of PKCδ and ASM, which have
the PDE5 inhibitors zaprinast (10 μM), sildenafil (10 μM), vardenafil
(5 μM), and MQZ (10 μM), or with theophylline (20 μM), then treated or
                                                                               essential roles in EGCG-induced cell death (25). Injection i.p. of
not with 5 μM EGCG for 96 hours. ***P < 0.001. (B) Cells were treated          EGCG and vardenafil in combination increased PKCδ phosphory-
with or without 5 μM vardenafil and/or 5 μM EGCG for 96 hours. Phase-          lation at Ser662 (corresponding to human p-PKCδSer664) as well
contrast images were taken by optical microscopy. Original magnifica-          as ASM activity (Figure 4, C and D). Moreover, this combination
tion, ×20. (C) Expression of 67LR and PDE5 proteins in patient cells           significantly upregulated the cleavage of caspase-3 (Figure 4E),
and normal PBMCs, assessed by immunoblotting. Lanes were run on                a key mediator of apoptosis in tumor cells. Collectively, these
the same gel but were noncontiguous (white lines). (D) Correlation             results suggested that vardenafil potentiates the anticancer effect
between 67LR expression and PDE5 expression. (E) Top: Immunoblot
                                                                               of EGCG through amplification of the downstream effectors
analyses of PDE5 in U266 cells. Bottom: EGCG sensitivity (5 μM for
96 hours) of U266 cells after PDE5 knockdown. (F) Normal PBMCs                 PKCδ and ASM. To evaluate the long-term effect of EGCG and
from 10 healthy donors, primary MM cells from 10 patients, and MM              vardenafil in combination on tumor growth, female BALB/c mice
cell lines were treated with or without 5 μM vardenafil and/or 5 μM            (10 per group) were given i.p. injection of 15 mg/kg EGCG and/or
EGCG for 96 hours. (G) U266 cells were incubated for 96 hours with or          5 mg/kg vardenafil every 2 days. The combination of EGCG and
without 5 μM vardenafil and/or 5 μM EGCG analogs (see Figure 2F).              vardenafil significantly suppressed tumor growth in the mice
n = 3 per group. All data are mean ± SEM.                                      (Figure 4F). Furthermore, log-rank analyses of the Kaplan-Meier sur-
                                                                               vival curves showed a significant increase in the survival of mice treat-
                                                                               ed with EGCG and vardenafil in combination compared with mice
Figure 5). In addition, we found a significant correlation between             treated with saline, EGCG alone, or vardenafil alone (Figure 4G). To
expression of 67LR and PDE5 in 10 MM tissues from 10 MM                        confirm whether PDE5 protects MM cells from EGCG-induced
patients and 10 normal bone marrow tissues from 10 donors                      cell death in vivo, BALB/c mice were inoculated subcutaneously in
(Rs = 0.826, P < 0.01, Spearman rank test, n = 20; Figure 3D and               the interscapular area with 5 × 106 MPC-11 cells stably transfected
Supplemental Figure 6). These data may provide a rational expla-               with control shRNA or the PDE5 shRNA expression vector; after
nation for the insensitivity of MM cells to low concentrations of              the appearance of palpable tumors, mice were then given i.p. injec-
EGCG despite the high expression of 67LR. To confirm the role                  tion of 15 mg/kg EGCG every 2 days. A reduction in the expres-
of PDE5 in EGCG resistance, we investigated the effect of PDE5                 sion of PDE5 protein markedly potentiated the anti-MM effect of
silencing. Western blot analysis indicated that transfection of PDE5           EGCG in vivo (Supplemental Figure 11).
shRNA expression vector silenced PDE5 protein expression in this                  Mitochondrial transmembrane potential collapse and caspase activa-
cell line without affecting the expression level of 67LR (Supple-              tion are involved in 67LR-dependent cell death. To ascertain whether
mental Figure 7). This reduction in the PDE5 protein expression                the combination of EGCG and vardenafil induces apoptosis, cells
markedly potentiated the anti-MM effect of EGCG (Figure 3E and                 treated with this combination were stained sequentially with
Supplemental Figure 7). Furthermore, we showed that the PDE5                   annexin V–Alexa Fluor 488 and observed by fluorescence micros-
inhibitor vardenafil, which is used for treating erectile dysfunction          copy and flow cytometry (Figure 5, A–C). The combination caused
(21), had no effect on the number of viable normal PBMCs from                  a significant reduction in the viability of U266 cells, with less than
healthy donors, but significantly enhanced the killing activity of             10% of the cells being viable — i.e., negative for both annexin V
EGCG on primary MM cells from patients and from the MM cell                    and propidium iodide (PI) — after 96 hours of treatment. We then
lines U266, RPMI8226, and ARH-77 (Figure 3, A and F). Treatment                investigated the apoptotic pathway elicited by EGCG and varde-
with EGCG and vardenafil in combination resulted in greater inhi-              nafil. Flow cytometric analyses showed an increase in the level of
bition of the growth of U266 cells, with an IC50 of 1.4 μM compared            active caspase and in the collapse of mitochondrial transmem-
with 23.2 μM for EGCG alone (Supplemental Figure 8, A and B).                  brane potential (Δφm) in cells treated with EGCG and vardenafil
Isobologram analyses showed that the growth-inhibitory effects of              in combination (Figure 5, D and E). These results strongly sug-
combined treatment with EGCG and vardenafil on the growth of                   gested that EGCG and vardenafil in combination cause a pro-
U266 cells and RPMI8226 cells were synergistic (Supplemental Fig-              nounced induction of apoptosis in MM cells. To confirm the
ures 8 and 9). We also found that vardenafil sensitized U266 cells             apoptosis-inducing effect of EGCG and vardenafil in combina-
to an EGCG derivative, epigallocatechin-3-O-(3-O-methyl)-gallate               tion, we undertook flow cytometric analyses of PI staining for cel-
(EGCG 3′′Me; Supplemental Figure 10), which has been known to                  lular DNA content. The combination was observed to increase the
enhance pharmacokinetic characteristics compared with EGCG.                    population of U266 cells in the sub-G1 fraction (Figure 5F).
Conversely, vardenafil in combination with the other catechins did                Inhibition of PDE5 potentiates 67LR-dependent cell death by enhancing the
not induce cell death in MM cells (Figure 3G).                                 67LR-dependent signaling pathway in MM cells. To determine whether
   Effect of EGCG and vardenafil in combination on myeloma cell prolif-        the combination of EGCG and vardenafil induces 67LR-dependent
eration in vivo. EGCG and vardenafil in combination prevented cell             cell death, we undertook antibody-blocking experiments, which
proliferation more efficiently than did the conventional anti-MM               demonstrated that 67LR mediated the apoptosis-inducing effect
drug lenalidomide in U266 cells in vitro (Figure 4A). The combi-               of this combination (Figure 6A). We also found that vardenafil
nation also inhibited the cell growth of the mouse myeloma cell                potentiated EGCG-induced upregulation of cGMP in MM cells
line MPC-11 in vitro (Figure 4B). To evaluate the in vivo activity of          and enhanced the anti-MM effect of the sGC activator BAY 41-2272
EGCG and vardenafil in combination, female BALB/c mice (5 per                  (Figure 6, B and C). In addition, the ASM inhibitor desipramine
group) were inoculated subcutaneously in the interscapular area                abrogated the anti-MM effect of EGCG and vardenafil in combi-
with 5 × 106 MPC-11 cells in 100 μl RPMI 1640 medium; after the                nation (Figure 6D). To confirm the role of ASM in the anticancer

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Figure 4
Effect of EGCG and a PDE5 inhibitor in combination on myeloma cell proliferation in vivo. (A) Anti-MM effect of EGCG (5 μM) and vardenafil (5 μM)
in combination and of lenalidomide for 96 hours in vitro (n = 3). (B) Mouse myeloma MPC-11 cells were pretreated or not with 5 μM vardenafil for
3 hours and cultured in the presence or absence of 5 μM EGCG for 96 hours (n = 3). (C–E) MPC-11 cells were injected subcutaneously into
female BALB/c mice, and mice (n = 5 per group) were given single i.p. injections of EGCG (15 mg/kg) and/or vardenafil (5 mg/kg). (C) After
6 hours, tumors were excised and evaluated for phosphorylation of PKCδ at Ser662 (corresponding to human p-PKCδSer664). Original magnifi-
cation, ×60. (D) ASM activation, assessed by TLC analyses. (E) Cleaved caspase-3 was evaluated by immunofluorescence analyses. Original
magnification, ×60. (F and G) MPC-11 cells were injected subcutaneously into female BALB/c mice, and mice (n = 10 per group) were given i.p.
injections of EGCG (15 mg/kg) and/or vardenafil (5 mg/kg) every 2 days. Statistical analyses of survival curves were undertaken using log-rank
analyses of the Kaplan-Meier curves. All data are mean ± SEM.



effect of EGCG and vardenafil in combination, we transfected U266              potentiated EGCG-induced apoptosis by enhancing the 67LR/
myeloma cells with a lentivirus encoding scrambled control shRNA               cGMP/ASM-dependent signaling pathway in MM cells (Figure 6F).
or shRNA against ASM. Remarkably, silencing of ASM abrogated                      PDE5 is overexpressed in various types of human cancer, and PDE5 inhibi-
the inhibitory effect of the combination on U266 cells (Figure 6E).            tion potentiates the anticancer effect of EGCG. Next, we investigated the
Collectively, these results demonstrated that the PDE5 inhibitor               effect of EGCG and vardenafil in various types of cancer. The combi-

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                                                                  Figure 5
                                                                  Caspase activation and collapse of Δφm are involved in 67LR-
                                                                  dependent cell death. (A) U266 cells were treated or not for
                                                                  96 hours with 5 μM EGCG in the presence or absence of 5 μM
                                                                  vardenafil and observed under a fluorescence microscope. Orig-
                                                                  inal magnification, ×20. (B and C) Apoptotic cells were double
                                                                  stained with annexin V–Alexa Fluor 488 and PI. (D and E) U266
                                                                  cells were treated or not for 72 hours with 5 μM EGCG in the
                                                                  presence or absence of 5 μM vardenafil, and caspase activ-
                                                                  ity (D) and collapse of Δφm (E) were measured. (F) U266 cells
                                                                  were treated for 96 hours with 5 μM EGCG in the presence or
                                                                  absence of 5 μM vardenafil. Flow cytometric analyses of PI stain-
                                                                  ing for cellular DNA content. Sub-G1 fractions were determined
                                                                  by FlowJo. n = 3 per group. All data are mean ± SEM.



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Figure 6
Inhibition of PDE5 potentiates 67LR-dependent cell death by enhancing the 67LR-dependent signaling pathway in MM cells. (A) U266 cells were
preincubated for 3 hours with anti-67LR antibody or IgM control antibody, then treated or not for 96 hours with 5 μM EGCG and/or vardenafil.
Apoptotic cells were double stained with annexin V–Alexa Fluor 488 and PI and analyzed by flow cytometry. (B) Cells were pretreated or not with
5 μM vardenafil and cultured for 3 hours in the presence or absence of 5 μM EGCG, followed by measurement of the amount of cGMP in the
cells. (C) U266 cells were treated or not for 96 hours with the sGC activator BAY 41-2272 (1 μM) in the presence or absence of 5 μM vardenafil.
(D) U266 cells were preincubated or not for 3 hours with the ASM-specific inhibitor desipramine (Des; 5 μM), then treated or not for 96 hours with
5 μM EGCG and/or vardenafil. (E) Sensitivity of U266 cells to EGCG and/or vardenafil (5 μM for 96 hours) after ASM knockdown. n = 3 per group.
All data are mean ± SEM. (F) The combination of EGCG as a cancer-specific cGMP inducer with an inhibitor targeting cancer-overexpressed
PDE5 could be a useful strategy for cancer-selective chemotherapy. Left: In the absence of PDE5 inhibitor, overexpressed PDE5 in cancer attenu-
ates the anticancer effect of EGCG. Right: PDE5 inhibition potentiates the anticancer effect of EGCG.

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Figure 7
PDE5 is overexpressed in various types of human cancer. (A) NHDFs from healthy donors as well as cell lines MKN45 (gastric cancer), PANC-1
(pancreatic cancer), and PC3 (prostate cancer) were cultured for 96 hours with 5 μM vardenafil and/or 5 μM EGCG. (B) Representative
images of paraffin sections of various types of tissue from cancer patients. Original magnification, ×60. n = 3 per group for all in vitro studies.
All data are mean ± SEM.




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Figure 8
PDE5 inhibition potentiates the anticancer effect of EGCG. (A) MDA-MB-231-RFP cells were cultured for 96 hours with 5 μM vardenafil and/or 5 μM
EGCG. (B and C) MDA-MB-231-RFP cells were injected subcutaneously into female nude mice, and mice (n = 8 per group) were given EGCG
(15 mg/kg i.p.) and/or vardenafil (5 mg/kg i.p.). (D) PANC-1 cells were treated for 96 hours with 5 μM EGCG and/or 5 μM vardenafil. Cells were
treated with annexin V–Alexa Fluor 488. Original magnification, ×20. (E) PANC-1 cells were treated with 5 μM EGCG and/or 5 μM vardenafil or with
the conventional drug gemcitabine for 96 hours. (F) Clonogenic assay in PANC-1 cells. 1,500 PANC-1 cells were cultured for 10 days with 5 μM
vardenafil in the presence or absence of 5 μM EGCG. n = 3 per group for all in vitro studies. All data are mean ± SEM.


nation of EGCG and vardenafil inhibited the proliferation of the gas-          EGCG and vardenafil in combination on MDA-MB-231 cells, the
tric cancer cell line MKN45, the pancreatic cancer cell line PANC-1,           cells were injected subcutaneously into female nude mice; after the
and the prostate cancer cell line PC3, but did not affect normal               appearance of palpable tumors, mice were given i.p. injections of
human diploid fibroblasts (NHDFs) or normal HUVECs (Figure 7A                  15 mg/kg EGCG and/or 5 mg/kg vardenafil every 2 days. EGCG and
and Supplemental Figure 12). Immunohistochemical analyses                      vardenafil in combination significantly suppressed tumor growth
of paraffin-embedded tissue sections showed that levels of 67LR                (Figure 8, B and C), and did not increase serum levels of ALT/AST
and PDE5 were elevated in various types of human cancers (gas-                 (Supplemental Figure 13). In addition, the combination induced
tric, pancreatic, prostate, and breast) compared with their normal             apoptosis in the pancreatic cancer cell line PANC-1 (Figure 8D). Fur-
counterparts (Figure 7B). The combination of EGCG and vardenafil               thermore, the effect of this combination was comparable with that of
inhibited proliferation of the human breast cancer cell line MDA-              gemcitabine, a conventional anticancer drug used widely for treating
MB-231-RFP in vitro (Figure 8A). To evaluate the in vivo activity of           pancreatic cancer (Figure 8E). A prior study showed that a PANC-1

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cell subpopulation propagates colony formation and has the prop-                observed in corpus cavernosum, vascular smooth muscle cells, and
erties of stem cells (26). The combination of EGCG and vardenafil               platelets. However, little is known about the expression and role
treatment inhibited colony formation in PANC-1 cells (Figure 8F).               of PDE5 in cancer cells. Here, we demonstrated that PDE5, as a
                                                                                negative regulator of EGCG-induced apoptosis, was significantly
Discussion                                                                      overexpressed in various types of cancer, including MM and gas-
The present study addressed the novel cell death pathway medi-                  tric, prostate, pancreatic, and breast cancers. We also showed that
ated by the cancer-overexpressed 67LR. Here, we clarified that                  the PDE5 inhibitor vardenafil, which is used for the treatment
Akt/eNOS/NO/sGC/cGMP/PKCδ/ASM signaling elicited by                             of erectile dysfunction, dramatically potentiated the anticancer
EGCG bound to 67LR is a crucial step for this cell death pathway.               effects of EGCG without affecting normal cells. The clinical value
67LR-dependent eNOS activation and NO production played an                      of our findings is appreciable, because PDE5 inhibitors are widely
indispensable part in EGCG-induced cell death. One study report-                used drugs approved by the FDA for chronic use (36). Hepato-
ed that phosphorylation of eNOS at Ser1177 is induced by the                    toxicity is the well-known adverse effect of high-dose EGCG (37),
adenosine A2B receptor (27) and acetylcholine receptor via a PI3K/              and, in some cases, elevation of transaminases ALT/AST has been
Akt-dependent signaling pathway. We here identified 67LR as a                   observed in clinical trials (13). Importantly, EGCG and vardenafil
cell surface receptor mediating eNOS activation in MM cells.                    in combination did not increase the serum levels of ALT/AST.
   cGMP is one of the secondary messengers involved in the regula-                Interestingly, there was a correlation between the expression of
tion of vascular homeostasis. Regulation of cGMP is a well-estab-               PDE5 and that of 67LR. However, PDE5 knockdown did not affect
lished strategy for vasodilatation and increased blood flow. To our             the expression level of 67LR. Tumor necrosis factor–α and oxida-
knowledge, this is the first study to demonstrate that cGMP initi-              tive stress have been shown to regulate PDE5 expression (38, 39).
ates an apoptotic pathway by activating the PKCδ/ASM pathway.                   Further investigation is required to determine the molecular
   Activation of the PKCδ/ASM pathway is involved in downstream                 mechanisms of PDE5 upregulation in tumor cells.
effectors in EGCG-induced apoptosis (25). These events (activation                The anticancer effects of EGCG have been shown in various
of PKCδ, ASM, and caspase-3) are well-known mechanisms involved                 types of cancer by several mechanisms. Some studies have report-
in various pathways of apoptosis induced by oxidation stress, cispla-           ed the inhibitory effects of EGCG on receptor tyrosine kinase sig-
tin, and ultraviolet light. However, in the present study, we revealed          naling pathways by disruption of the lipid order (40) or by direct
the characteristic mechanisms by which cancer-overexpressed                     binding to its ATP binding site (41). EGCG has also been demon-
67LR acts as a novel death receptor. A prior study reported that                strated to inhibit the enzyme activities of MMPs (42), the essential
PKCδ is one of the novel PKCs activated by diacylglycerol or 12-O-              enzymes for the progression and metastasis of cancer. However,
tetradecanoylphorbol 13-acetate (28), but is unresponsive to Ca2+.              these mechanisms have not been confirmed in in vivo studies (12).
It has also been reported that PKCδ activation is induced by oxida-             Here, we showed that the 67LR/cGMP pathway has a crucial role
tive stress (29), etoposide (30), ionizing radiation (31), and Fas (32).        in the anticancer effect of EGCG in vivo.
We demonstrated here that cGMP is a critical signal mediator in                   From a mechanistic perspective, our finding of PDE5 overex-
67LR-dependent PKCδ/ASM activation and MM cell death. In addi-                  pression in cancer cells was one reason why higher EGCG concen-
tion, the NO-independent sGC activator BAY 41-2272 increased                    trations were needed to induce apoptosis, even though the disso-
the phosphorylation level of PKCδ at Ser664, a surrogate marker                 ciation constant of EGCG to 67LR is 0.04 μM (17). The difficulty
for PKCδ activation (M. Kumazoe, unpublished observation). This                 in the clinical use of EGCG is due to its poor bioavailability. We
molecular mechanisms involved in cGMP-induced PKCδ activation                   found that the PDE5 inhibitor vardenafil sensitized MM cells to
are not entirely clear. This issue is worthy of particular consideration        a methylated EGCG derivative that has been known to enhance
to clarify the 67LR-dependent apoptotic pathway.                                pharmacokinetic characteristics compared with EGCG in plasma
   67LR is a nonintegrin cell surface receptor for laminin. It has              (43). Various types of EGCG derivatives can be produced by solid-
vital roles in the metastasis and invasion of tumors as well as drug            phase synthesis (44). Appropriate EGCG derivatives may improve
resistance (9). Several clinical studies have shown that overexpres-            the pharmacokinetic characteristics as activators of 67LR.
sion of 67LR correlates with tumor progression (5–7). 67LR has                    In conclusion, we demonstrated that combining EGCG as a can-
been reported to have an indispensable role in tumor growth in a                cer-selective inducer of cGMP with a PDE5 inhibitor could be used
mouse model (8). However, our findings suggested that 67LR acts                 clinically without indiscriminately affecting normal cells, thereby
as a cancer-specific death receptor mediating the apoptotic signal-             resulting in less toxicity and better tolerability.
ing pathway. This finding suggested that 67LR may be an ideal
novel target for cancer chemotherapy and may provide a rationale                Methods
for the clinical effectiveness of EGCG as a 67LR-targeting drug.                Patient samples. Primary MM cells were isolated from bone marrow aspirate
   EGCG alone has cytotoxic effects on MM cells only if applied                 samples obtained from MM patients. The purity of the plasma cells (80%)
at concentrations greater than 20 μM, considerably greater than                 was confirmed by monitoring the cell surface expression of CD138. Mono-
the concentrations typically used in clinical trials. Combined                  nuclear cells were also obtained from peripheral blood donated by healthy
treatment for targeting key resistant factors could be a useful                 volunteers. Cell lines were cultured in RPMI 1640 medium supplemented
strategy for overcoming drug resistance (33–35). Effective regi-                with 10% FBS. NHDFs and HUVECs were provided by Takara and main-
mens have been developed to overcome resistance to anticancer                   tained in RPMI 1640 with 10% FBS.
drugs, such as gemcitabine/erlotinib in combination with an                       Vectors and transfections. pLKO.1-based lentiviral vectors expressing non-
additional anticancer drug.                                                     targeting control shRNA and shRNAs targeting eNOS, PDE5, and ASM
   PDEs are major negative regulators of cGMP and act by degrad-                were purchased from Sigma-Aldrich. For production of the lentivirus, a
ing the phosphodiester bond. PDE5 is one of the enzymes of PDEs                 lentiviral expression vector was cotransfected with packaging vectors into
and a major negative regulator of cGMP. Its expression has been                 lenti 293T cells as described by the manufacturer.

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  In vitro cell proliferation and apoptosis assays. Cells were inoculated into         manufacturer’s protocol, and slides were treated with Alexa Fluor 488–
24-well plates (5 × 104 cells/well) and then treated with drugs at various             conjugated anti-67LR (5 μg/ml).
concentrations. The number of cells was determined by trypan-blue exclu-                  Measurement of ASM activity. Cells were lysed in lysis buffer and incubated
sion. Annexin V+ MM cells were detected using the annexin V–Alexa Fluor                at 4°C for 1 hour, followed by centrifugation at 15,000 g for 15 minutes.
488 Apoptosis Detection Kit (Invitrogen). Cells were mixed with annexin                The supernatant was incubated at 37°C for 18 hours with substrate buffer
V–Alexa Fluor 488 and media binding reagent. A portion of the cell sus-                (400 pmol BODIPY-C12 sphingomyelin, 1% Triton X-100, and 200 mM
pension was then placed onto a glass slide. All images were acquired with              sodium acetate in dH2O).
a confocal laser microscope (A1; Nikon) and fluorescence microscope                       Xenograft murine model. 5-week-old female BALB/c mice were obtained
(BZ-8100; Keyence). For flow cytometric analyses, cells were double stained            from Kyudo. Mice were inoculated subcutaneously in the interscapu-
with annexin V–Alexa Fluor 488 and PI (Sigma-Aldrich). The percentages                 lar area with 5 × 106 MPC-11 cells. After the appearance of palpable
of annexin V+ cells were calculated by combining annexin V+/PI− (early                 tumors, mice were divided randomly into groups with an even distribu-
annexin V–positive) and annexin V+/PI+ (late annexin V–positive), followed             tion of tumor sizes. They were then injected i.p. daily with saline alone,
by analyses on a FACSCalibur system (BD).                                              or EGCG (15 mg/kg) or vardenafil (5 mg/kg), every 2 days. 5-week-old
  Caspase activation was measured using the CaspGLOW Fluorescein Cas-                  female BALB nu/CrlCrlj mice, obtained from Charles River Laborato-
pase Staining Kit according to the manufacturer’s protocol (Biovision).                ries, were inoculated with 5 × 106 MDA-MB-231 RFP cells, and the injec-
Briefly, cells were stained with the caspase family inhibitor FITC-conjugat-           tion regimens described above were followed (n = 8 per group). Tumor
ed VAD-FMK for 1 hour at 37°C in 5% CO2. All experiments were repeated                 growth was measured with calipers, and the tumor volume was calcu-
thrice, and quantitative results were analyzed by Tukey test. A P value less           lated as l × w2/2. In vivo images were obtained using the Maestro II imag-
than 0.05 was considered significant.                                                  ing system (CRI).
  cGMP assays. Measurements of cGMP were carried out using the AlphaScreen                Statistics. All data are presented as mean ± SEM. Significance of differ-
cGMP assay kit (Perkin-Elmer). The assays were done using the condi-                   ences between experimental variables was determined by Tukey test. Sta-
tions described by the manufacturer. Cells were treated with reagents for              tistical analyses were undertaken using the KyPlot software program and
3 hours in 96-well plates. Plates were read using the EnVision Plate Reader            SPSS. The level of interaction between EGCG and vardenafil was assessed
(Perkin-Elmer) at an excitation wavelength of 680 nm and emission wave-                by isobologram analyses using Calcusyn 2.0 software (Biosoft). Statisti-
length of 615 nm.                                                                      cal analyses of survival curves were carried out using log-rank analyses
  NO assays. Production of NO in cultured cells was assayed using the                  of Kaplan-Meier curves. Spearman rank test was used for correlations. A
fluorescent probe 4,5-diaminofluorescein diacetate (DAF-2DA; Sekisui                   P value less than 0.05 was considered significant.
Medical). Cells were incubated in 10 μM DAF-2DA after the addition                        Study approval. Studies with human samples were approved by the Ethics
of EGCG. Green fluorescence of the dye was analyzed using the EnVi-                    Committee of Faculty of Agriculture, Kyushu University. Informed consent
sion Plate Reader at an excitation wavelength of 460 nm and emission                   from all patients and healthy volunteers was obtained in accordance with
wavelength of 535 nm.                                                                  the Declaration of Helsinki. All animal studies were done in accordance
  Western blot analyses and immunofluorescent staining. Cells were lysed in the        with the law (protocol no. 105) and notification (protocol no. 6) of the
above-mentioned lysis buffer containing 50 mM Tris-HCl (pH 7.5), 150 mM                Japanese government for the welfare of experimental animals. All proce-
NaCl, 1% Triton X-100, 1 mM EDTA, 50 mM NaF, 30 mM Na4P2O7, 1 mM                       dures were approved by the Animal Care and Use Committee of Kyushu
phenylmethanesulfonyl fluoride, 2 mg/ml aprotinin, and 1 mM pervana-                   University and undertaken in strict accordance with institutional guide-
date. Approximately 50 μg protein was suspended in Laemmli sample                      lines for handling laboratory animals.
buffer (0.1 M Tris-HCl buffer, pH 6.8; 1% SDS; 0.05% mercaptoethanol;
10% glycerol; and 0.001% bromophenol blue), boiled, and electropho-                    Acknowledgments
resed on SDS-polyacrylamide gels. Gels were then electroblotted onto                   This work was supported in part by JSPS KAKENHI grant 22228002
Trans-Blot nitrocellulose membranes (Bio-Rad). Incubation with the                     to H. Tachibana and by Japan Society for the Promotion of Science
indicated antibodies was done in Tween 20-PBS (TPBS) containing 1%                     for Young Scientists research fellowship DC1 to M. Kumazoe. We
BSA. Blots were washed with TPBS and incubated in anti-rabbit or anti-                 appreciate the technical support from the Research Support Center,
mouse HRP conjugates. After washing, specific proteins were detected                   Graduate School of Medical Sciences, Kyushu University.
using an enhanced chemiluminescence system according to the manual
from Amersham Life Sciences. Patient tissue samples were purchased                     Received for publication May 11, 2012, and accepted in revised
from US Biomax. Samples were incubated overnight at 4°C with the pri-                  form November 1, 2012.
mary antibody. Anti-PDE5 antibodies (Abcam) were used at 1:200 dilu-
tion. Slides were then treated with Alexa Fluor 555–conjugated secondary               Address correspondence to: Hirofumi Tachibana, 6-10-1 Hakoza-
antibody (Invitrogen) at 1:100 dilution and incubated for 1 hour. Anti-                ki, Higashi-ku, Fukuoka 812-8581, Japan. Phone: 81.92.642.3008;
67LR Alexa Fluor 488–conjugated antibody was produced following the                    Fax: 81.92.642.3008; E-mail: tatibana@agr.kyushu-u.ac.jp.
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